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UNITED STATES BANKRUPTCY COURT
DISTRICT OF NEW JERSEY

Caption in Compliance with D.N.J. LBR 9004-1(b)

ASHFORD – SCHAEL LLC
Courtney A. Schael, Esq. (CS-1295)
100 Quimby Street, Suite 1
Westfield, NJ 07090
(908) 232-5566
(908) 728-3113 telecopy
Counsel for Arthur Raymond Scuttaro


In re:
                                                         Chapter 11
NATIONAL REALTY INVESTMENT ADVISORS,
LLC, et al.,                                             Case No. 22-14539 (JKS)

                                              Debtors.

                              NOTICE OF APPEARANCE AND
                            REQUEST FOR SERVICE OF PAPERS

                PLEASE TAKE NOTICE that Arthur Raymond Scuttaro ( “Scuttaro”), party in

  interest in the above-captioned bankruptcy case, hereby appears in the above-captioned case

  through its counsel, Ashford - Schael LLC. Ashford – Schael LLC hereby enters its appearance

  on behalf of Scuttaro pursuant to section 1109(b) of the Bankruptcy Code and Federal Rules of

  Bankruptcy Procedure 9007 and 9101(b) and hereby request that copies of all notices and

  pleadings given or filed in this bankruptcy case be given and served upon the following:

                                   Courtney A. Schael, Esq.
                                   ASHFORD – SCHAEL LLC
                                   100 Quimby Street, Suite 1
                                   Westfield, NJ 07090
                                   (908) 232-5566 main
                                   (908) 255-0462 direct
                                   CSchael@AshfordNJLaw.com




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               PLEASE TAKE FURTHER NOTICE that this Notice of Appearance and

Request for Service of Papers or any subsequent appearance or pleading shall not be construed or

deemed to waive Scuttaro’s: (a) right to have final orders in non-core proceedings entered by a

higher court, (b) right to trial by jury in any matter triable by jury; or (c) any other rights, claims

actions, setoffs or recoupments to which Scuttaro is or may be entitled to under any agreements,

at law or equity, and Scuttaro hereby expressly reserves all rights, claims, remedies, actions,

defenses setoff, and recoupments.

Dated: August 31, 2022                         ASHFORD - SCHAEL, LLC
                                               Counsel for Arthur Raymond Scuttaro

                                               By:      /s/ Courtney A. Schael
                                               Courtney A. Schael, Esq. (CS-1295)
                                               100 Quimby Street, Suite 1
                                               Westfield, NJ 07090
                                               Tel.: (908) 232-5566
                                               cschael@ashfordnjlaw.com




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